Case 2:13-cv-08834-C.]C-VBK Document 1-1 Filed 11/27/13 Page 1 of 50 Page |D #:27

EXHIBIT A

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Serial Number
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Published for
Opposition
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Owner

Attorney of
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Prior
Registrations

Type of Mark

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!C 011. US 013 021 023 031 034. G & S: Electrica| lighting apparatus name|y, fixtures, spot |ights, down|ights
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August 5, 2008

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October 21 , 2008

(REG]STRANT) Troy-CSL Lighting, |nC. CORPOF{AT|ON NEW YORK 14625 East C|ark Avenue City of |ndustry
CA|_|FORN|A 91745

Natan Epstein

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EXHIBIT B

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COUNTER ATTACK

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February 6, 2004

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November 16, 2004

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February 8, 2005

(REG|STRANT) Troy-CSL Light`lng, |nC. COF{PORAT|ON NEW YOFiK 14508 Ne|SOn Ave City Of |ndustry
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Natan Epstein
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EXHIBIT C

   

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June 16, 2005

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March 14, 2006

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June 26, 2007

(HEG!STRANT) Troy-CSL Lighting. |nc. CORPORAT|ON NEW YORK 14625 East C|ark Ave. City Of
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EXHIBIT D

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C1 1 ek Her‘e For l=u`|`l

Der_:ti15! Troy Lighting Momerey 1 Light Omduor Wal| Light Bl!-l5880
List Price: 582.00
Our Pr'ice: $77.90

Truy Lighting Mon!erey 1 Light Ouldoor Wa|| Light BlHSBES
List Price: $106.00
Our Price: $100.70

 

Brarid of the month!

MINKA Troy Lig|iting Monterey 2 L.lght Outdoor Wall Light B|H5912
I_AVERY List Price: $11a.0o
Our Prlce: $11 2.10

 

   

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| FR~ann's
Troy Lighting Montarey Darl< Sky 1 Ligh:Outdoor Wall Light EllHSSSD-D

__v_psA `. g List Prlce: $124.00
“"" Our Prlce: 5117.80

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Troy Lighting Aura 2 Light Baih Vanity Light 81032
List Frlce: $138.00
Our Prlce.' 5131.10

size

Troy Lighting Telluride 2 Light Ball'i Vai'lity Light 81132
List Prico: $138.00
Our Prlce: $131.10

hltp://www.lightingshowhouse.com/SearchReSults.asp?Search=Troy+Lighting&amp;Sub... l 1/27/2013

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EXHIBIT E

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Mal.lhews Fan
Maxim Lightirig
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Myson

Norwel|

Pl.C Lighting
Sonnemarl

Troy Lighting
Visi.ia.l Comfort

 

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Schooihouse
Poiisl"ied Nickel
Single Light Fll_ish
Mount 5361F-PN-
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Maxim Lighting C.ounterMax
24" Bronze 8 Light LED Under
Cabinet 89943BRZ

$142.00

Norwell Birmingham Gne~Light
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search by keyword §

 

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We accept the following credit cards'. Visa, MasterCard, American Express and
Disc:over. There is no surcharge for using your credit card to make purchases. Please
be sure to provide your exact billing address and telephone number (i.e. the address
and phone number your credit card bank has on tile for you). incorrect information
will cause a delay in processing your order. Your credit card will be billed either
before shipment or once we place our order with the manufacturer.

 

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We have partnered with Bcingo international to service our customers Worldwide!

Bongo international provides our customers with their very own US address. Once you have a
US address, you will be able to make purchases with us as well as other US based online
retailers. Bongo receives your purchases and logs them into their oniine system which you
can use to view your items and consolidate them with multiple orders.

lnternational customers can save up to 82% off typical international shipping rates by
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Kichler
Biack
Cast
laluminum
Outcloor
Wall-
Mounted
Lantern
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$41.61
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Hudson
Valley
Edisori
Satin
Nicliel
Semi
Flush
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details

w Register with Bongo and receive a U.S. shipping address. B.FGW‘:E ll:j)l§ §;D.r,i€._e

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Norwell Wave ADA Right One~
Light Wai| Sconce 8901-CH-SO
$258.00

Norweii C|ayton Flush Mount
Ceiling Light 5372-CH-SO
5122.80

Norweil Eiizabeth Towel Bar
3436-PN~T824
$87.40

Norweii Kathryn Toilet Paper
Hoider 3451-BN~TPR
$102.00

1.00 - 24.99
@ Enter the Bongo address as both your billing and shipping address. s $
s $zs - $49.99
§ Use the credit card that you have on file with Bongo as the payment Over $50
method.
§ Once the order arrives at Bongo, log into your account to forward to your Ou-p NEWS\ette-p
country.

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if you have any questions, please feel free to contact Bongo through e_maiL. They will be
glad to assist you.

   

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We accept money orders, cashier’s checks, personal checks, and company checks in
U.S. Dollars only. Orders are processed upon receipt of a money order or cashier’s
check. For personal and company checks, please allow up to 10 banking days after
receipt for clearance of funds before the order is processed. We cannot guarantee the
availability of a product by the time funds clear or payment is received. We will
charge a 525 fee on all returned checks.

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For a multiple product order, we will make every attempt to ship all products
contained in the order at the same time. Products that are unavailable at the time of
shipping will be shipped as they become availabie, unless you inform us otherwise
You will only be charged for products contained in a given shipment. plus any
applicable shipping charges. You will only be charged for shipping at the rate quoted
to you on your purchase receipt. The entirety of this shipping charge may be applied
to the first product(s) shipped on a multiple shipment order.

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Your receipt of an electronic or other form of order confirmation does not signify our
acceptance of your order, nor does it constitute confirmation of our offer to sell.
Designer$upplyHouse.com reserves the right at any time after receipt of your order to
accept or decline your order for any reason or to supply less than the quantity you
ordered of any item.

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These Conditions will supersede any terms and/or conditions you include with any purchase
order, regardless of whether Designersupplyhouse.com signs them or not. We reserve the
right to make changes to this site and these Conditlons at any time.

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There may be times when the product you have ordered is out-of¢stock which will delay
fulfilling your order. We will keep you informed of any products that you have ordered that
are out-of-stock and unavailable for immediate shipment. You may cancel your order at any
time prior to shipping.

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We keep your personal information private and secure. When you make a purchase
from our site, you provide your name, email address. credit card information,
address, phone number, and a password. We use this information to process your
orders, to keep you updated on your orders and to personalize your shopping
experience.

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promotions, specials and new additions to the Designer$upplyHouse.com site. You
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address and mailing address. lf you win, we will send the prize to the address entered
and notify you by email. When you enter a contest or drawing you are also included
in our newsletter list to receive notice of promotions, specials and new additions to
the Designer$upplyHouse.com site. ¥ou may unsubscribe from this news list by
following the unsubscribe instructions in any email received.

We use "cookies" to keep track of your current shopping session to personalize your
experience and so that you may retrieve your shopping cart at any time.

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collection practices. Please consult each site's privacy

policy. Designersupplyhouse.com is not responsible for the actions of third parties.
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We will gladly accept the return of products that are defective due to defects in
manufacturing and/ or workmanship for 30 days from the date of purchase. Fulfillment
mistakes that we make resulting in the shipment of incorrect product to you will also
be accepted for return 30 days from the date of purchase. |f a product is being
returned due to customer error, outgoing as well as return shipping and handling will
be the responsibility of the customer. We will also deduct freight if a defective
product is being returned and not being replaced. Tracking must be provided to us
and all merchandise must be in its original packaging. Once an item has been
installed we will not be able to accept a return on that item. We do NOT charge
restocking fees on returned products.

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Most orders are specially ordered for our customers. Either we have the manufacturer ship
the merchandise directly to our customer or we bring the merchandise into our warehouse
and ship them back out to our customers on the day we receive the product. Once an order
ships from the manufacturer to our facility we no longer can cancel this order, this order
automatically becomes a return order in which the customer pays return shipping. Please
make sure a confirmation email is sent with the cancellation notice. without this email a
customer can not assume an order is considered cancelled.

We cannot guarantee when an order will arrive. Consider any shipping or transit time
offered to you only as an estimate. We encourage you to order in a timely fashion to avoid
delays caused by shipping or product availability.

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Case 2:13-cv-08834-C.]C-VBK Document 1-1 Filed 11/27/13 Page 23 of 50 Page |D #:49
Our Store shall automatically charge and withhold the applicable sales tax for orders
to be delivered to addresses within the same state as our store. For all orders shipped
out of New York_, we will not charge the sales tax. lf you are in New York and are a

re-seller please call us as we would need to have you send the documentation to us.
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ln the event a product is listed at an incorrect price due to typographical error or
error in pricing information received from our suppliers. Our Store shall have the right
to refuse or cancel any orders placed for product listed at the incorrect price. Our
Store shall have the right to refuse or cancel any such orders whether or not the
order has been confirmed and your credit card charged. !f your credit card has
already been charged for the purchase and your order is canceled, Our Store shall
immediately issue a credit to your credit card account in the amount of the incorrect
price

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EXHIBIT F

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Home C|olhing Eiectronics Cornputers Home & Garden Beauty More Shopping insider Financiaily Fit

    

 

Shopping > Shop by Store > Bath Kitchen Decor LLC

Bath Kitchen Decor LLC

Merchant Fieviews | N|erchant information

User Fieviews: Bath Kitchen Decor LLC

Write a Fleview

 

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Sort by: t< Frevious| 1-8 out of B | Next »

OveraiE: *"*"**-'
_ Kichier Lights i=leceiveci - issues Ftesoiveci
P""t` ****- ay vahoa: shopping user sep 13. 2013

haw m chhase: ***** l worked with L.arry Krayzman on the purchase of a Kichier Dining

customer service ***, ,' Fioorn Light, they had a great price for the light l was looking ior.

` n Aiter taking 3 weeks lo ship the product (a iitiie longer than i would

w""“`""; **** have preferredl but acceptabie) l ran into a price match issue and

Shipping Opiions; ****= then a product defect issue. Larry was responsive lO my emaiis, albeit
he usually look several days to respond, and had the product and my
issues resolved in the end. From purchase to final price match and
defect resolution was Less

 

Was this review heiplui? Yes - No

Permaiink l Fieporl Abuse

Overa|i: **'*’*’*'
GHEAT PRICES
Pnce. ***** By Yahooi Stinpping User Aug iB, 2013

E‘M °f Pu'ChBSe ***** Ordered my lights and received within 2 weeks Wei| worth the wait
customer service ***** The products came of great quality When calling lo check up on
D&h_i_ew: ***** order, the staff was iriendly, i will shop here again.

Sltipplng OpilOnS. **'**’*

Was this review heipiul? Yes - No

Perrna|ink l Heport Abuse

Overa!l:
P…n_ Do not buy from this company
""' By Yahoo! Shoppistg User Jui i. 2013
E'N“' m purchase Don't order from this company l ordered a lighting fixture on June
12th and 18 days later still waiting for the item to be shipped They
promised it will ship tomorrow but it is not lrue. l hope | will be able to

cancel and to get a refund.

Custnmer Servir.e:

De|ivery

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mpmg p lens Was this review heipfui'? Yes - No

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- Snemap - AliBrands

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LOVE MV LIGHT$!
By Yahoo! Shopping User Jun G, 2013

l had a great experience on bathkitchendecor.com For starters, They
had the absolute best price on the fixtures i wanted. l called to check
availability and was given a time frame of 2 weeks. (l thought it was

kind of long) But my fixtures arrived in... Read more

Was this review heipfui? Yes - No

Permalink | Repon Abuse

WORST COMPANY EVER
By Yahool Shopping User May 13. 2013

DO NOT ORDEH FFlOM HERE! This company is completely
unorganized. dishonest and has terrible customer service. l waited 3
months for a light fixture to be delivered l kept calling to check on it
and he kept saying "it shipped today" but would not giv... Fiead more

Was this review helptui? ¥es - No

Pennaiink l Fieport Abuse

DO NOT BUV FFIOM THEM
By Yahool Shopping User Apr 16. 2013 | 2 out of 2 found this Bath Kitchen Decor
LLC review helpful

This is a scam. l ordered a lighting fixture on 4/1 and still had not
received a tracking number by 4/15. | called and was put on hold for
20 minutes. l called again ( immediate|y) and they said | would get a
tracking number on 4/16.They were still i... Head more

Was this review help|ui? Ves - No

Permalink| Flepon Abuse

STAY AWAY
By vanool Shopping User Jan 25, 2013 | 8 out of 8 found this Bath Kitchen Decor
LLC review helpful

DO NOT ORDER FFiOM TH|S GUY!il Rude, ignore your emai|s and
phone calls to check on your status of your order and when you call
to cancel your order because they ignored your emaiis and phone
calls they tell you they will charge you a restocking fee o... Fiead
more

Was this review helpful? Veo - No

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a Previous l 1-8 out of 8 | Next »

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§§ 61,413 stores o 2,241,776 reviews 9 Over 250,000 shoppers online now

 

 

 

Lig]ltil].g_fi.ltu]'_€$ www.l_ightingDirect.com

Ligiilinij.i Fixtures Low PriCeS and E><ce||enl: Se|ection! Shop Wlth Ease On|ine Now.

nl Full Rating Profi|e

 

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Write a review »

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Fieview profile

7.87/10

 

 

Produr,t. & services pricing

Chance of future purchase: "‘l."` 3.05/10
Shipplng ii packaging: §§§.5 7 3.02,"10
Customer service: Y`N 3 3.39/1[)
Rerurn/Repiacement policy: 0.00/10

 

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Waik in Bth Giveawav inter Today for a Chance to Win aFree Wa|k in Bath from Preinier Care

Bathr_o_o_m_Addit§nn!.Beme.d.el www.HomeAd\/lsor.¢€>m

Bathroont Addition/Rer'nodei Locai Pre-Screened Contractors.Backed By Our Service Guarantee!

B_a_t_h_r_o_Qm_Mm_q_dgLE£i§§$ LocalRemode|ingQuol:es.com/Bath

Bathroom Rernodel Prices 1, Seerch Your Zip Code 2, GivePro;iect Detai|s 3, Get Free Bids\..
Ads by Googie

A|i Custorner Fleviews (92) 1 2 3 4 next »

 

G posted Sep~21-2013

"Great shopping experience The customer service was outstanding The best prices

lsdkitkattig
on the internet. i felt a personal relationship with their staff,they were so helpfu|. I
would definitely shop with bath kitchen clech again. And I recommend this company
to others."
Is this review?... ;_,’- tie|pfui ~*.L"QQI n Sham ® LL.QDJ.L." ' °
j 1/5 0 posted sep-zo-zoia
"Ordered a Jeremiah Lighting 25226-MB 6 Light Highland P|ace Chande|ier. Prlce
Checked

was good, item came time|y. The company did not provide any shipping notice or

Store ` Comi'numty |`-ierchant Write a Sign up j
Ratings l lui-sights Coopi:iris SOluticris Review v
. Logm

little by Gcoz_jl.e

Bathroom Addition/Remode| v

Wail< In Bath Giveaway
Facebook.com/Premier€are

Enter Today for a Chance to Win a Free
Walk in Bath from Premier Care

Lighting Fixtures v
TJ Maxx Online Deais c

Heiated High|y Ftated Stores

Sl:ore Rating Reviews

ranks smart Engmes ,'; ..: . 342-iii

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item tracking. The color of the item was lighter than the picture and I put in to
return it. This process was fairly easy on their site. However, it took 18 days to get
the return information, after much prodding. When 1 received the notice lt was ship
here within 7 days, with this number on the box. I understand that I may be liable

for payment, but they made nothing easy."

rs this review?... ;.'. miami (1) am sims di mm

§ ",'»»_"~_'.,'_'j',-;y"x» 1/5 9 posted Sep-18~2013

"HORRIBLE, HORRIBLE COMPANY!! A BUNCH OF DUNCES ON THE CUSTOMER
SERVICE DESK. CAN'T SPEAK TO MANAGEMENT EVER NOR THE OWNER. I HAVE
WAITED FOR A FAN PROM[SED SEPT 10 AND TOLD TWICE IT HAD SHIPPED. FED EX
SAYS THEY SHIPPED ONE OF THREE PACKAGES. THEY SAID THE OTHER TWO
HAVEN;T EVEN BEEN SHIPPED. HIRED AN ELE(.`|'RICIAN BASED ON WHAT THEY SAY
TWICE AND STILL NO FAN. RUN, DON'T WALK FROM THlS HORRIBLE MERCHANT.
EVERYONE INCALL HAS TOLD ME HOW HORRIBLE THEY ARE AND HOW THEY GET
THEIR BUSINES$ SALESMAN NEVER RETURNS MY CALLS OR EMAILS. LARRY, STAY
CLEAR OF HIM"

is this review?... ;d painful (1) wm sam o munoz

a_"rj~,_y=j;f;?g=,§`g 5/5 O posted Sep~14-2013

"Great transaction.Had to wait a while but the fine print on the website warned me
before ordering. Amazing price and they delivered a perfect product with perfect

communication Wi|i shop again."

15 this review?... ==$ t;i£lll.l.i.ll ¢’»§Q_Ql illicit 0 l'_i:l.?.llr.L?.
jd-~;';;~;g§g'-§ 5 /5 E) posted $ep-04-2013

"Before ordering my chandeliers, l read most of the reviews about this company
being a bit slow on the orders. Since I wasn't on a time crunch, l couldn't pass up
their amazing deals. They had the best prices for my product on the lnternet, even
with a goog|e shopping search. Their communication was great. They kept me up to
date on when my products would be ln. One chandelier came in right away, the
smaller one was on back order for 1 month. They gave me the option to wait or

cancel my order. Not a problem, l told them l was fine walt|ng.

After a month passed, they informed me lt would be another month, but gave me
the option to keep the order or cancel my order for a refund. Aga|n, I wasn't in a
hurry, so l kept my order with them. They kept in touch with me the entire time,
until my small chandeller came in. Setween Larry and Kenishla, they always kept me
in the loop and never made false promises They always told the truth and I would
definitely buy from this company again.

My two chandellers look beautiful and knowing that 1 got them for a steel, makes

me smile every time l look at them."

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Is this review?... id l:iel,ufu.i -'¢CQ.QL 5h.di‘_€. ¢D LE.ilQB`l

Sa'“` 1/5 0 posted Aug-29~2013

  

.1.

"My WORST experience everil! If I'd known it would take over a month for my
Babygirlk85

product I would have never ordered from them. 1 purchased bath sinks weeks ago
and received an order confirmation via email and a receipt because of course they
charged me right away. l have called 3 times and each time told that my product
would ship "next Tuesday" or "next Wednesday". Did |t? NO! And now they aren't
answering the phones. I'm in the middle of remodeling my place &amp; now the
project is on hold because l don't have sinks. l have filed a complaint with the
Better Business Bureau so hopefully something comes of that. l will NEVER order
from Bath &amp; Kitchen Decor again. And l will make sure that everyone l know
and can contact knows about their business practices. Starting with this review site.
Save yourself the time &amp; headache. Order elsewhere! The discounted prices are

not worth it. I wish I could give zero stars but the one star is required by this slte."

ls this review?... la sam (1) .'.i;ugi sham 0 muuri.z

§§ _ .‘¢.__ixir»)r‘{""~;» 3/5 0 posted Aug-27-2013

 

"Even after reading the reviews here, l still tried to order a light fixture due to the
turnermd very low price. After seeing the item was ln stock on the website, I placed the order.
I received notification that the item was backordered and given an "unconfirmed"
date of September 14th. I then took the reviews here to heart and cancelled my
order. I was concerned about receiving the refund in a timely manner but did indeed
receive it via PayPai by the end of the business day on the date l cancelled the
order. I appreciate the timeliness that the refund was handled. Interesting|y
enough, the light fixture I tried to order was still listed and continues to be listed as

in stock on their website"

rs this review?... u; i:ielofui .ii.cu_ui sum 0 tecum

,j,_.-I`:'.;,'_; 4?:'7::‘.- 1/5 @ posted Aug~26-2013

"Ditto on the fraudulent practices. Kovacs lamp much cheaper than others, order
ronfrompbg

placed, card charged, and it took MONTHS to receive. Since the shade was broken,

who know if and when I'll ever have a functioning lamp. MANY emalls required to

push this process along. Yes, ordered in April, it's nearly the end of August now.

Anyone who had reported a good experience just plain got lucky or is a shill."

rs this review?... ;:_:. i_igipiui w§uol Sn.ar_e 0 i;eum;tz

iFTi, 1/5 ® posted Aug-12-2013

 

Mietzekatze

"Worst experience ever. i ordered 3 bathroom lamps back in Jurie, 2013. lt is August

12, 2013 now. I never received an order confirmation, but the the amount due was

 

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deducted right away. After I called to get a status I was told that I never provided
an email address for the order and that was the reason why they could not send me
an order confirmation. You cannot place an onl|ne order without providing an email

address.

Had to call and email several times to get an update. I was always told the same
response, "The lamps are on their way to our warehouse and will ship by the end of

the week.” lt never happened.

Flnally l cancelled the order.I was checking to see if I got a refund, nothing. l
emaiied, called, and was weeks alter my cancellation I was told "¥our refund will be
posted by the end of the week." Seems to be the standard answer for everything.
"By the end of the week". lt is almost two weeks later and I still have not received a

refund.

l sent an email stating that lfI did not receive a refund immediately, l was going to
pursue legal action. I did not even get a response to that. It is fraud to charge me
for a product I never never received. and to hold my money hostage. In addition l

am paying interest on my credit card.

I do not understand how this company is still in business or has not been sued yet. I
would understand if I was told it would take a long time to receive the product, but

to lie and keep my money is more than unethical business practice.

It's a shame because 1 was originally really attracted to their product assortment.

Do not buy there...."

ls this review?... :;'$ i:i.eltz[i.il ftcle Sb.a£c 0 i'_epo.ttl

    

ig».\f,»;`__ 1/5 0 posted Aug-o7-2013

 

"i have ordered many times through bath kitchen decor. While the product quality

cl77

when it arrives ls good, the accuracy of communication before and during the order
processing itself is poor:

- items are listed as "avallability: in stock" even though the manufacturer may be
backordered by 2-4 weeks.

- no status is communicated to customer when order is in fact backordered.

- shipping labels are prepared before the goods are actually shipped (i.e. prepared
while still waiting for the 2-4 week backorder) which gives a false sense that the
items are actually being shipped soon.

- only when the customer contacts them, does the actual order status get revealed.

positives:
- they respond to customer email inquiries

- they will refund if they haven't yet shipped.

negatives:
- poor communication
- could have purchased elsewhere even at a slightly higher cost for better

predictability."

 

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Case 2: 13- -C\/- -08834- C.]C- VBK Document 1- 1 Filed 11/27/13 Page 31 of 50 Page lD #: 57
Is this review?... i:.‘i l:ii:lnf.i.il drum Sh.ai’_e Or£i'.i.izil!

    

l .i'g..-";.,."‘_-..i"';.~;' ;, 1/5 O posted Aug-OS-ZO 13

`~_l:~,~`

"Like many others, l placed the order on|ine, had to follow up on the status of the
monty40ln _ .
order several times, then had to return the order. Had to follow up several times to
get a "RPG number" that they require in order to return ltems. Then l had to follow
up several times to get my refund. Took several months for all of this. DON‘T BU¥
FROM THESE PEOPLE! There are too many other companies who are better to do

business with out there! Put one star only because it won‘t allow you to put zero

stars"
rs this review?... :-`-i iigiutiii .*.cuui abate di teuuttz
g 1/5 0 posted Aug-oi-zoia

   

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"It is scary to read about so many negative experiences this company is having with
along°ria its customers. I was planning i:o buy a backyard fountain but when l read the
reviews l decided to shop elsewhere. Its to bad, they offer competitive prices. The
company needs to address and rectify the complaints that customers are lodging or

else face the lose of business."

rs this review?... iii marin .'.guui spare 0 mim..' "’
`i:€:'§w`s‘&"i¥ 5/5 0 posted Jui-19-2013

 

"No problems, smooth transaction, and best priced, will shop here again and would

527550LE
recommend the store to others. "
ls this review?... ;:_i mann acuui share 0 tenui;tz
§ii"st‘rii=rz£";€r 5/5 o posted Jui-16-2013

 

 

~i

"FANTASTIC EXPERIENCE! OUTSTANDING CUSTOMER SERVICE AND
COMMUNICATION (fi'Orr\ Larry)! THEIR PRICES BLEW AWAY THE COMPETITORS AND
I GOT EXACTLY WHAT I ORDERED lN A TIMELY MANNER. I WOULD DEFINITELY BUY
FROM AGAIN WITHOUT A DOUBT!"

lmay49r

rs this review-i... ;:.i delqu .scuui suate o munoz

ind 2/5 0 posted Jun-z7-2013

§__,,. , _I`

"l ordered two Uttermost preserved boxwood topiaries. l received both topiaries.
surmst One was damaged but l was able to fix it. The other one won‘t stand up at all and
toppies over. The topiary comes out of the pot at an angle because it was potted
incorrectly. lt ls not usable and unsightly. Customer Servlce - GABBY - said l could

get a replacement if there was damage. I have sent 3 emails now requesting a

...~.....~...t....... . ..,,.u..t.m...“~~v..uv... .w..mb,.~ m u.~»»m\...“.\..-Hu

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replacement and asking how to get a replacement with no response at ali - complete
slience. I know Uttermost is a reputable company and should stand behind their
product. l hope Bath and l<itchen Decor will handle this the right way and get a
replacement topiary. Order Number #BKD-115367. Thank you. "

rs this review?... id i;igiuiui .r.i;gpi ll abate il> team
\i-,--.. s 1234 next»
Parlicipate For Merchants Learn More Company lnfo 2,241,776 reviews, 3,906 today
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"Hotu holiday shoppers con bear web sccims... "

See more pre;s s

 

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EXHIBIT G

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Case'2:13--cv 08334- CJc- \/BK oocumeni1-1 i=iied 11/27/13 Page 34 of 50 Page iD #: 60

§§h§@ For Consumers For Businesses For Charities & Donors About Us News Contact Us B_l.lsln§:s§ Lngln

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Better BUS|neSS Bureau BBB serving Metl'opoiitan Ni.:w Ytirk, Ltmg lsland, and the Mid-Hudstm chion Charige BBB Locatioi‘.

   

 

Search For: Business Name, Type, URL, Phone In: City, State Or POStal COde BBB ACCF€dltEd I`.".l

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- Select Language -

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Tiils BusiNESs is NOT aaa AcanDiTEb
Bath Kitchen Decor
Phone: (800) 627-6688

Qu:tci< units

What is a BBB Busiriess Rc-vietv?
About Enhanced Serv:ces

Fiie a Coinplaint against Bath Kitciien

185-12 Union Turnpii<e, Fresh Meadows, NY 11366 Decor
customerservice=’§ubathkitcnenclecor.corn
http://www.bathi<itchendecor.com Accredited Business Direciory
g °" a S‘~'a'e °f A+ f° F ASSOCIATED SEARCHES
F § Reason for Rating
§ 555 R€=`EFDQS 5`1'5\'-@'“ OVEW'@W Find BBB Accredited Businesses offering

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_ Share - § Print services
655 Busi`ness Revi'ews may not be reproduced for sales or promotional purposes FEEDBACK
RECOMMEND

BBB Accreditation . .
Wouid you recommend this review to

This business is not BBB accredited. others?

Businesses are under no obligation to seek BBB accreditation, and some businesses are riot please SE'ect‘ § Ye~`" g N°

accredited because they have not sought BBB accreditation.

To be accredited by ElBB, a business must apply for accreditation and EiBB must determine that sHARE wITH us

the business meets BBB accreditation standards, which include a commitment to make a good To better assist you, please take our
faith effort to resolve any consumer compialnts. BBB Accredited Bi.isiriesses must pay a fee for brief survey about the format/
accreditation review/monitoring and for support of BBB services to the public. readabiiity of this review so that we may

continually improve your experience

CONTACT US

Emai| us at inquiryi§'inewyork.bbb.oi‘g
ReaSOH fOI‘ Ra'fi!‘lg with your questions, suggestionsl and
BBB rating is based on 16 factors. Get the details about the factors considered C°ncem$~

Factors that lowered the rating for Bath i<itchen Decor inciude:
' Length of time business has been operating

31 complaints i"`i|ed against business
' Failure to respond to 10 complaints filed against business

Customer Complaints Summary Read complaint details

31 complaints closed with BBB in last 3 years l 19 closed in last 12 months

 

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Cas`é 2:13`-`0\'/- 03334- CJC- \/BK Document 1 1 i=iied 11/27/13 Page 35 of 50 Page iD #: 61
Complaint Type Tota| Closed Compiaints
Advertlsingl$a|es Issues 1

Bi|ling/Co|lection Issues 3

De|ivery Issues 16
Guarantee/Warranty Issues 0

Pi'oblems with Product/Service J.`l
Total C|osed Comp|aints 31

Reao Complaints | Dehnii;ions; | BBB Complalni Process | F'ile a Comp|a`int against Bath Kitchen Decor

Government Actions
BBB knows of no significant government actions involving Bath Kitchen Decor.

what government actions does BBB report on?

Advertising Review
BBB has nothing to report concerning Batn l<itchen Decor‘s advertising at this time.

What is BBB Advertising Review?

Additiona| Information ron 1

BBB file opened: May 07, 2010 3 - -
TC|F|A

Bus`iness started: 07/01/2009 in NY
F
Contact Information we "'E:E’S°}‘{"s
Principa|: Mr. Larry Kra‘,'zman, Owner 1956
_ o \D°iiu'
Business Category "
i<ircili:i\i s BATH DEsiGN .. ve %
BATHs'EQuiPr~iENT & suppose ° wine s
kiTcHEr\i cABiNETs & EQUIPMENT-i~iousEHoLo \;c\`\°“
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BBB Reporting Policy | Trademar|-:: . s"i Usc- l Piivacy Policy | BBB Directc=ry

BBB serving Metropo|itan I‘~lew York, Long Is|and, and the l-1id-Hudson Region

 

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EXHIBIT H

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l_Sycrs lP LaW Consulting
" intellectual Property Atiorneys

 

 

_ Sicphen D. Bycrs
September 24= 2012 Phone 424.234.3546

Sbycrs@byersiplaw.com

Mr. Larry Krayzman

Bath, Kitchen, Décor LLC
185-12 Union Turnpike
Fresh Meadows, NY 11366
info@bathkitchendecor.com

Re: Infringement of Troy-CSL's Trademarks and Trafficking in Counterfeit
Goods

Mr. Krayzman:

Our firm represents Troy-CSL Lighting, Hudson Valley Lighting, Corbett Lighting, and
others of the Littman Brands in trademark, patent, and other intellectual property
matters

lt has recently been brought to the attention of our client that you arc selling and/or
offering for Sale certain designs of lighting articles underneath the names "Troy-CSL,"
"Corbett," Hudson Valley Lighting" and "Sonneman" without authorization by any of
them to do so, and which we have reason to believe these lighting fixtures may be
counterfeit articlos. Specifically, your website www.bathkitchendecor.com is offering for
Sale numerous lighting fixtures under these names without such authorization

Troy-CSL owns both federal and common law intellectual property rights which protect
the use of its name and products from unauthorized distribution, including federally
registered trademarks -- for example U.S. Registration Nos. 3520415 (for "CSL") and
2831438 (for "Creative Lighting Systems"). You are not, and have never been,
authorized to Sell Troy-CSL Lighting fixtures, nor have you ever been authorized to use
any of Troy-CSL'S trademarks Moreover, you are Selling Such products at unauthorized
prices, and we believe such products may be counterfeit in nature Additionally, the
other Littrnan Brands have Sirnilar federally registered and common law trademarks and
trade dress rights which you are not authorized to sell or use. Like your Sale of Troy-CSL
lighting products, you arc Selling these additional brands at unauthorized prices and We
have reason to believe they may bc counterfeit articles.

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Mr. Krayzrnan
September 24, 2012
Page 2

Under 15 U.S.C. § 1117 (b), federal law provides for remedies equal to three times a
counterfeiter's protit, in addition to attomeys' fees and costs, or statutory awards
amounting to $2,000,000 per mark. Moreover, you may be subject to criminal penalties
under 18 U.S.C. §2320. Even if such products are not counterfeit, Troy-CSL and the
other Littman Brands are still entitled to the entirety of your profits, in addition to the
costs of the suit, due to your willful infringement of their registered trademarks.
Troy-CSL and the other Littman Brands vigorously defend their intellectual property
rights, and intend to pursue all legal options available, including the filing of a law suit,
however, they are open to resolving this issue amicably, if you are. We demand that
within 10 days of the date of this letter, you provide our office with the following
information:

1) The name, address, phone number, and website where you have purchased any
and all "Troy-CSL," "Hudson Valley Lighting," Corbett," and "Sonneman" products (the
"suppliers"), and ;

2) All invoices evidencing that you have bought such products from said supplier(s);

3) All sales agreements or purchase orders indicating your sales of all "Troy-CSL,"
"Hudson Valley Lighting," "Corbett," and "Sonneman" products;

4) A declaration that you agree not sell any further Troy-CSL or other Littman
Brands products, including but not limited to the above identified products without the
written consent of Troy-CSL or other Littman Brands company respectively, and agree to
remove all Troy-CSL and other Littman Brands companies‘ trademarks (registered or
otherwise) from your catalogs, websites, brochures and other materials under your
control with 15 days time.

We hope to resolve this issue in the immediate future.

Regards,

/Steve Byers/
Stephen D. Byers

Enclosures

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Mr. Krayzman
September 24, 2012
Page 3

cc: Steve Nadell

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EXHIBIT I

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Steve Byers

From: wraovcst.coivl]

Sent: Monday, January 07, 2013 4:33 PM
To: sbyers@byersiplaw.com
Subject: FW: MAP violations

 

From:
Sent: Monday, November 26, 2012 11:26 AM
To;,

Subject: FW: MAP violations

Hello Cindy,

See' below from Michae| at-..

Please keep me in the lop regarding your inquiry and reply...
Thanks,

Wayne

 

From=*[mLilto_:M]
sent: Mon 11/26/2012 11:10 AM

To= w w
Subject: MAP violations

Hello,
lf this email has reached you in error, please forward to the pricing administrator.

We have come across Bath Kitchen Décor's web site because our customers are asking us to price match. Upon
searching several items, l have noticed that they are listing their retail price at the minimum advertised pricing
and then offering an additional discount on the same page with the final sale price under ”Your Price". Since last
week, we have either lost sales or had to go below the minimum pricing to match Bath Kitchen Décor's pricing. l
had been in contact with one manufacturer that is listed on the link below and they claim that Bath Kitchen
Décor is not a customer of theirs. lf this is true, my assumption would be that another lighting retailer is
purchasing the fixtures and shipping them to the BKD customer.

l would like to know what will be done about this. l don’t want to lower our pricing to be below your policies but
l also don't want to lose any more sales and will only resort to this if there is no other option. Please take the
time to research this as this retailer is going to hurt everybody in the long run.

http://www.bathkitchendecor.com/BRANDS c 88.html

Best regards,

l 1/27/2013

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*
-Purchasing Manager

Showroorn .

Chicago, lL 60654
Ph- 312--
Fax 312-~

WWW .COm

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Case 2:13-cv-08834-C.]C-VBK Document 1-1 Filed 11/27/13 Page 45 of 50 Pagé)*i§eal:?fz

Steve Byers

Fro_m: ~*iovcst.com]
Sent: Monday, January 07, 2013 4:32 PM

To: sbyers@byersiplaw.com
Subject: FW: |MAP issue with web site

 

 

Fr°m= “Q*Mom]
Sent: Saturday, December 01, 2012 9:29 PM
Subjecl:: IMAP issue with web site

This place has your brand at 15% off

It looks like they are hiding there company name--I think Bath Kitchen Decor is not the real companies
name.

l have had several customers bring this site to my attention in the last week about how their prices are
some much lower than ours.

http://www.bathkitchendecor.com/BRANDS c 88.html

 

 
 
 
   
   

Bath Kitchen Decor
Phone: (800) 627-6688185-12 Union Turnpike, Fresh

Meadows, NY 11366customerservice@bathkitchendecor.comhtt :

 

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Sincere|y,

Website Director,
Trade & Hospitality Sales

m
Phone: (800)_ Ext 201
Fax; (800) _

11/27/2013

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Case 2:13-cv-08834-C.]C-VBK Document 1-1 Filed11/27/13 Page 47 of 50 Pagd’iD€#l.i¢§Z

Steve Byers

From: w [_TROYCSL.COM]
Sent: Monday, January 07, 2013 4:34 PN|

To: sbyers@byersip|aw.com
Subject: FW: |nternet Pricing

 

From:

Sent: Tuesday, July 24, 2012 11:10 AM
To:

Subject: Re: Internet Pricing

Can you advise Tyler that we are aware of the site, and they in violation and how we are trying to get
them to stop.

Thanks,
Wayne
Sent from my Verizon Wireless BlackBerry

From: "w“ <.@TROYCSL.COM>
Date: Tue, 24 Jul 2012 08:25: 17 -0700

To: Tro CSL.COM>

Subject: RE: Internet Pricing

 

Wayne:

We have been after this site for a while. They are not an authorized site. 0ur attorney is in the process of
preparing a letter to them.

Thanks!

Cindy

Fr°m_:.. .-t ___,c.._ ., ._ __ __ -
Sent: Tuesday, July 24, 2012 4:33 AM

To: ”; w
Subject: Fw: Internet Pricing

Hello Cindy,
See below regarding an intemet violation. Please advise-at mnd cc me.
Thanks for your help,

Wayne
Sent from my Verizon Wireless BlackBerry

 

From: " ' com>
Date: Mon, 23 Jul 2012 16:47:22 -0700
To: 'Wayne Falk'<W F TRO SL. >

Subject: Internet Pricing

11/27/2013

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case 2:13-cv-08334-ch-vek Document 1-1 Filed 11/27/13 Page 49 of 50 Pag@i§e¥.?§?~

Hi Wayne-
Hope all is we||. Can you please forward this to the lady at Corbett/T roy who handles Ecommerce.

http://www.bathkitchendecor.com/Corbett-Kvoto-G-Light-|s|and-Lighting-in-Silver-Leaf-Finish--131-
56 g 107288.html

l seem to always have a problem with customers and them finding your pieces on display for cheap.

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M
Uoridland Hills, Crt 91364
P: 818-_

F: 818--

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Besea;as

 

